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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                )
MARK MEADOWS,                                   )
                                                )
                   Plaintiff,                   )
                                                )
          v.                                    )       Case No. 1:21CV3217 (CJN)
                                                )
NANCY PELOSI, et al.,                           )
                                                )
                   Defendants.                  )
                                                )

              PLAINTIFF’S MOTION FOR JUDGMENT ON THE
      PLEADINGS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT,
   & IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          Plaintiff Mark Meadows, by and through his undersigned counsel, in accordance with the

Court’s Oral Order of May 4, 2022, hereby:

          a)       moves pursuant to Fed. R. Civ. P. 12(c) for judgment on the pleadings;

          b)       or, in the alternative, moves pursuant to Fed. R. Civ. P. 56(a) for summary

                   judgment; and

          c)       opposes Defendants’ Motion for Summary Judgment (ECF No. 15).

          Plaintiff seeks the entry of judgment in his favor on all the claims in his amended complaint

(ECF No. 13). Specifically, Plaintiff seeks judgment on the pleadings pursuant to Fed. R. Civ. P.

12(c) because no material fact is in dispute and Plaintiff is entitled to judgment as a matter of law

without resort to extrinsic evidence. In the alternative, Plaintiff seeks summary judgment pursuant

to Fed. R. Civ. P. 56(a) because there is no genuine dispute as to any material fact based on the

evidence presented in support of Plaintiff’s motion and Plaintiff is entitled to judgment as a matter

of law.
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          Inasmuch as the issues and relevant points and authorities are joined as to these Motions

and Defendants’ pending Motion for Summary Judgment, Plaintiff is filing a combined

Memorandum of Points and Authorities in support of both his Motions and in opposition to

Defendants’ Motion. Attached to that Memorandum are Plaintiff’s Statement of Undisputed

Material Facts and his Response to Defendants’ Statement of Undisputed Material Facts (ECF No.

15-28).

          Wherefore, for the reasons stated in the above-referenced filings, Plaintiff asks the Court

to: (i) enter judgment as a matter of law in favor of Plaintiff and against Defendants on all claims

in Plaintiff’s amended complaint; and (ii) deny Defendants’ Motion for Summary Judgment, or in

the alternative, grant Plaintiff’s unopposed Motion filed pursuant to Fed. R. Civ. P. 56(d) (ECF

No. 20), which the Court is holding in abeyance.



Dated: May 20, 2022                                    Respectfully submitted,
                                                       MARK R. MEADOWS
                                                       By Counsel

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                                CERTIFICATE OF SERVICE

       I certify that, on May 20, 2022, a copy of the foregoing was filed on the Court’s CM/ECF

system, which will send notification to all counsel of record.

                                                     /s/ George J. Terwilliger III
